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UNITED STATES OF AMERICA

 

v. : 1:200R. 32-1
ARMANDO NAVA-JUAREZ, :
also known as Armando Nava
The United States Attorney charges:

On or about November 8, 2016, in the County of Davidson, in the Middle
District of North Carolina, ARMANDO NAVA-JUAREZ, also known as
Armando Nava, an alien, cast a vote in an election held for the purpose of
electing a candidate for the office of President, Vice President, Member of the
United States Senate, and Member of the United States House of
Representatives; in violation of Title 18, United States Code, Section 611.

DATED: August 18, 2020

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MATTHEW G.T. MARTIN
United States Attorney

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STEPHEN T. INMAN
Assistant United States Attorney

 

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